Case 1:20-cv-04662-HG-PK Document 48 Filed 02/22/22 Page 1 of 5 PageID #: 430




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February 22, 2022

By ECF

Magistrate Judge Peggy Kuo
United States District Court for the Eastern District of New York
225 Cadman Plaza East, Courtroom 11C South
Brooklyn, New York 11201

       Re:     Rosenfeld v. AC2T, Inc., No. 1:20-cv-04662-FB-PK (E.D.N.Y.)

Dear Judge Kuo:

       My firm represents Defendant AC2T, Inc. (“AC2T”) in the action referenced above.
Together with Plaintiff Kalman Rosenfeld (“Plaintiff”), and in accordance with Rule IV of Your
Honor’s Individual Rules, we write to respectfully request an extension of the current Scheduling
Order. A Stipulated Proposed Second Amended Scheduling Order signed by both parties is
attached as Exhibit A. Plaintiff’s counsel has reviewed and approved the contents of this letter.

        The current Amended Scheduling Order sets a March 7, 2022 deadline for Plaintiff to file
his motion for Rule 23 class certification. Document discovery remains underway. AC2T has
made three document productions to date, totaling approximately 75,847 pages, but requires
additional time to complete its efforts to identify, gather, review, and produce documents
responsive to Plaintiff’s requests. At this time, AC2T cannot yet estimate a date of completion
or the remaining volume of its forthcoming document productions. Plaintiff represents that he
has completed his production of documents. Moreover, several third parties have not completed
their production of documents in response to discovery subpoenas. The parties intend that
document discovery should be substantially completed before depositions are taken and,
consistent with the current Amended Scheduling Order, that fact discovery should be
substantially completed before Plaintiff moves for class certification.

        Accordingly, the parties jointly request that the Court set September 7, 2022 as the new
deadline for Plaintiff to move for class certification. Consistent with the existing Amended
Scheduling Order, all subsequent discovery and motion deadlines would follow from the date
that Plaintiff files his class certification motion. The parties are hopeful that document
production will be completed in time to comply with this revised schedule, but they are mindful
that further extensions may be necessary if additional time is needed for fact discovery.

       This is the parties’ second request to amend the Scheduling Order.
Case 1:20-cv-04662-HG-PK Document 48 Filed 02/22/22 Page 2 of 5 PageID #: 431




Magistrate Judge Peggy Kuo
February 22, 2022
Page 2

       We appreciate the Court’s consideration. If Your Honor has any questions or concerns,
we can be available at the Court’s convenience.

                                                  Respectfully,

                                                  /s/ Edward P. Boyle

                                                  Edward P. Boyle

cc:    Counsel of Record (via ECF)
Case 1:20-cv-04662-HG-PK Document 48 Filed 02/22/22 Page 3 of 5 PageID #: 432




        EXHIBIT A
Case 1:20-cv-04662-HG-PK Document 48 Filed 02/22/22 Page 4 of 5 PageID #: 433




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------x
                                                          :
 KALMAN ROSENFELD, individually and                       :
 on behalf of all others similarly situated,              :   No.: 1:20-cv-04662-FB-PK
                                                          :
                            Plaintiff,                    :
                                                          :
 v.                                                       :   STIPULATED PROPOSED SECOND
                                                          :   AMENDED SCHEDULING
 AC2T, INC.                                               :   ORDER
                                                          :
                            Defendant.                    :
                                                          :
---------------------------------------------------------x

        WHEREAS the parties have met and conferred and agreed upon an amended discovery

schedule, it is hereby stipulated to and agreed as follows:

             1. Motion for Rule 23 Class Certification shall be due on or before September 7, 2022.

             2. The Opposition to the Motion for Rule 23 Class Certification shall be due 49 days
                after the moving brief is filed.

             3. The Reply in Further Support of the Motion for Rule 23 Class Certification shall be
                due 28 days after the Opposition is filed.

             4. All fact discovery is to be completed 60 days after the ruling on the motion for class
                certification.

             5. A joint status report certifying the close of fact discovery and indicating whether
                expert discovery is needed is due 60 days after the ruling on the motion for class
                certification.

             6. Affirmative expert reports are due 60 days after the ruling on the motion for class
                certification.

             7. Rebuttal expert reports are due 90 days after the ruling on the motion for class
                certification.

             8. Depositions of experts are to be completed 120 days after the ruling on the motion
                for class certification.

             9. All discovery is to be completed 120 days after the ruling on the motion for class
Case 1:20-cv-04662-HG-PK Document 48 Filed 02/22/22 Page 5 of 5 PageID #: 434




               certification.

           10. A joint status report certifying the close of all discovery is due 120 days after the
               ruling on the motion for class certification.

           11. If any party seeks a dispositive motion, the request for a pre-motion conference (if
               required) or the briefing schedule must be filed 127 days after the ruling on the
               motion for class certification.

       The parties may jointly agree to amend the above dates by filing a further stipulation with

the Court, which shall be subject to the Court’s approval. This schedule may also be amended for

cause upon application of a party to the Court.




Dated: New York, New York
       February 22, 2022


VENABLE LLP                                            BURSOR & FISHER, P.A.


By: /s/ Edward P. Boyle                                By: _/s/ Alec M. Leslie_____________
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                                                       Attorneys for Plaintiff
Attorneys for Defendant AC2T, Inc.




SO ORDERED, ________________, 2022
Honorable Peggy Kuo
United States Magistrate Judge
